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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                                Eastern Division

Central States, Southeast and Southwest Areas Health
and Welfare Fund, et al.
                                                         Plaintiff,
v.                                                                       Case No.:
                                                                         1:19−cv−06216
                                                                         Honorable Virginia
                                                                         M. Kendall
First Student, Inc.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 11, 2020:


        MINUTE entry before the Honorable Virginia M. Kendall. Case is dismissed
without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and
Stipulation of Dismissal [30]. Civil case terminated. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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